Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 1 of 60 PageID #: 3125
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 2 of 60 PageID #: 3126
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 3 of 60 PageID #: 3127
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 4 of 60 PageID #: 3128
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 5 of 60 PageID #: 3129
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 6 of 60 PageID #: 3130
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 7 of 60 PageID #: 3131
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 8 of 60 PageID #: 3132
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 9 of 60 PageID #: 3133
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 10 of 60 PageID #:
                                    3134
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 11 of 60 PageID #:
                                    3135
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 12 of 60 PageID #:
                                    3136
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 13 of 60 PageID #:
                                    3137
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 14 of 60 PageID #:
                                    3138
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 15 of 60 PageID #:
                                    3139
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 16 of 60 PageID #:
                                    3140
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 17 of 60 PageID #:
                                    3141
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 18 of 60 PageID #:
                                    3142
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 19 of 60 PageID #:
                                    3143
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 20 of 60 PageID #:
                                    3144
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 21 of 60 PageID #:
                                    3145
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 22 of 60 PageID #:
                                    3146
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 23 of 60 PageID #:
                                    3147
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 24 of 60 PageID #:
                                    3148
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 25 of 60 PageID #:
                                    3149
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 26 of 60 PageID #:
                                    3150
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 27 of 60 PageID #:
                                    3151
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 28 of 60 PageID #:
                                    3152
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 29 of 60 PageID #:
                                    3153
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 30 of 60 PageID #:
                                    3154
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 31 of 60 PageID #:
                                    3155
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 32 of 60 PageID #:
                                    3156
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 33 of 60 PageID #:
                                    3157
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 34 of 60 PageID #:
                                    3158
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 35 of 60 PageID #:
                                    3159
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 36 of 60 PageID #:
                                    3160
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 37 of 60 PageID #:
                                    3161
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 38 of 60 PageID #:
                                    3162
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 39 of 60 PageID #:
                                    3163
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 40 of 60 PageID #:
                                    3164
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 41 of 60 PageID #:
                                    3165
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 42 of 60 PageID #:
                                    3166
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 43 of 60 PageID #:
                                    3167
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 44 of 60 PageID #:
                                    3168
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 45 of 60 PageID #:
                                    3169
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 46 of 60 PageID #:
                                    3170
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 47 of 60 PageID #:
                                    3171
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 48 of 60 PageID #:
                                    3172
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 49 of 60 PageID #:
                                    3173
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 50 of 60 PageID #:
                                    3174
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 51 of 60 PageID #:
                                    3175
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 52 of 60 PageID #:
                                    3176
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 53 of 60 PageID #:
                                    3177
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 54 of 60 PageID #:
                                    3178
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 55 of 60 PageID #:
                                    3179
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 56 of 60 PageID #:
                                    3180
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 57 of 60 PageID #:
                                    3181
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 58 of 60 PageID #:
                                    3182
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 59 of 60 PageID #:
                                    3183
Case 1:16-cv-00878-WTL-MJD Document 161-1 Filed 10/06/17 Page 60 of 60 PageID #:
                                    3184
